      Case 4:09-cr-00029 Document 310 Filed on 07/09/10 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §   CRIMINAL NO. H-09-29-9
                                              §
                                              §
                                              §
WILLIAM JOSEPH STONE JR.                      §


                                        ORDER

              The defendant filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 309). The motion for continuance is GRANTED. The

sentencing hearing is reset to October 19, 2010, at 10:00 a.m. Objections to the presentence

report are to be filed by October 8, 2010.

              SIGNED on July 9, 2010, at Houston, Texas.

                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
